                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                   5:17-cv-118-MOC
                               (5:13-cr-53-MOC-DCK-3)

DANIEL LEE FOSTER,                  )
                                    )
            Petitioner,             )
                                    )
      vs.                           )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                                    )
            Respondent.             )
____________________________________)

       THIS MATTER is before the Court on its own motion following Petitioner’s failure to

submit his motion to vacate signed under penalty of perjury in accordance with this Court’s two

prior orders, entered on September 21, 2017, and November 30, 2017. (Doc. Nos. 2, 3). The

Court noted in each of its prior orders that the petition has not been signed under penalty of

perjury, and the Court gave Petitioner additional time in which to resubmit the petition signed

under penalty of perjury. The Court specifically warned Petitioner in both orders that if

Petitioner failed to do so, the petition would be subject to dismissal without further notice.

       Petitioner has not resubmitted his petition in accordance with this Court’s prior orders,

and the time to do so has passed.

        IT IS, THEREFORE, ORDERED that the petition is HEREBY DISMISSED without

prejudice to Petitioner.



 Signed: December 27, 2017



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